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                            UNITED STATES DISTRICT COURT

                               DISTRICT OF MINNESOTA

 IN RE PORK ANTITRUST LITIGATION
                                                   Civil No. 18-1776 (JRT/HB)

 This Document Relates To:                         ORDER GRANTING COMMERCIAL
                                                   AND INSTITUTIONAL INDIRECT
 COMMERCIAL AND INSTITUTIONAL                      PURCHASER PLAINTIFFS’ MOTION
 INDIRECT PURCHASER PLAINTIFF ACTION               FOR FINAL APPROVAL OF THE CLASS
                                                   ACTION SETTLEMENT WITH THE JBS
                                                   DEFENDANTS AND ENTRY OF FINAL
                                                   JUDGMENT



       This Court has held a hearing on Commercial and Institutional Indirect Purchaser

Plaintiffs’ Motion for Final Approval of the Settlement with Defendants JBS USA Food

Company, JBS USA Food Company Holdings, and Swift Pork Company (“JBS”) (“Motion”).

Commercial and Institutional Indirect Purchaser Plaintiffs (“CIIPPs” or “Plaintiffs”) have

entered into a Settlement Agreement with JBS. On May 3, 2021, this Court entered an

Order granting preliminary approval of the proposed settlement (ECF No. 767,

“Preliminary Approval Order”). The Court, having reviewed the Motion, its

accompanying memorandum and the exhibits thereto, the Settlement Agreement, and

all papers filed, hereby finds that the motion should be GRANTED as to the settlement

with JBS.

       Among other things, the Preliminary Approval Order authorized Commercial and

Institutional Indirect Purchaser Plaintiffs to disseminate notice of the settlement, the
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fairness hearing, and related matters to the Class. Notice was provided to the Class

pursuant to the Preliminary Approval Order and, as the Class was notified, the Court

held a fairness hearing on November 3, 2021. No class member objected to or opted out of

the settlement and none appeared at the fairness hearing to oppose approval or object to

the settlement.

       Based on Commercial and Institutional Indirect Purchaser Plaintiffs’ Motion for

final approval, oral argument presented at the fairness hearing, and the complete

records and files in this matter,

       IT IS HEREBY ORDERED THAT:

        1.     Commercial and Institutional Indirect Purchaser Plaintiffs’ Motion for

 final approval of the Settlement with JBS (ECF No. 965) is hereby GRANTED pursuant to

 Fed. R. Civ. P. 23(e) because it is fair, reasonable, and adequate to the Class.

        2.     The Court has jurisdiction over the subject matter of this litigation,

 including the actions within this litigation, and over the parties to the Settlement

 Agreements, including all members of the Settlement Class (also referred to herein as

 the “Class”), and all Defendants.

        3.     Terms capitalized in this Order and Final Judgment have the same

 meanings as those used in the Settlement Agreement.

        4.     The Court adopts and incorporates herein all findings made under Rule

 23 in its Preliminary Approval Order.




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       5.     In reaching this conclusion, the Court considered the complexity,

expense, and likely duration of the litigation, the Class’s reaction to the settlement, and

the result achieved. The Settlement was attained following an extensive investigation

of the facts. It resulted from vigorous arm’s-length negotiations, which were undertaken

in good faith by counsel with significant experience litigating antitrust class actions, and

with the assistance of a respected mediator.

       6.     Pursuant to Federal Rule of Civil Procedure 23, the Court determines that

the following Settlement Class be certified solely for the purposes of the Settlement:

      All entities who indirectly purchased Pork from Defendants or co-
      conspirators or their respective subsidiaries or affiliates in the United States
      from January 1, 2009 until May 3, 2021 for their own business use in
      commercial food preparation.

      Specifically excluded from the Settlement Class are Defendants; the
      officers, directors or employees of any Defendant; the parent companies of
      any Defendant; the subsidiaries of any Defendant and any entity in which
      Defendant has a controlling interest; purchasers of Pork that purchased
      Pork directly from any Defendant, including those that directly purchased
      Pork for resale in an unmodified and untransformed form; and any affiliate,
      legal representative, heir or assign of any Defendant. Also excluded from
      the Settlement Class are any federal, state or local government entities, any
      judicial officer presiding over this action and the members of his/her
      immediate family and judicial staff, any juror assigned to this action.

       7.     Pursuant to Fed. R. Civ. P. 23(g), Interim Co-Lead Counsel previously

appointed by the Court are appointed as Class Counsel for the Settlement Class as they

have and will fairly and competently represent the interests of the Settlement Class.

       8.     The Court further finds that the prerequisites to a class action under Rule




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23 are satisfied solely for settlement purposes in that: (a) there are at least hundreds

of geographically dispersed class members, making joinder of all members

impracticable; (b) there are questions of law and fact common to the class that

predominate over individual issues; (c) the claims or defenses of the plaintiffs are

typical of the claims or defenses of the Settlement Class; (d) the plaintiffs will fairly and

adequately protect the interests of the Settlement Class, and have retained counsel

experienced in antitrust class action litigation who have, and will continue to,

adequately represent the Settlement Class; (e) common issues of law and fact

predominate; and (f) a class action is superior to individual actions.

       9.     The Escrow Account, into which JBS has deposited a total of

$12,750,000.00 as the settlement amount, plus accrued interest thereon, is approved

as a Qualified Settlement Fund pursuant to Internal Revenue Code Section 468B and

the Treasury Regulations promulgated thereunder.

       10.    This Court hereby dismisses on the merits and with prejudice all Claims in

the CIIPP action against JBS, with each party to bear its own costs and fees, including

attorneys’ fees, except as provided in the Settlement Agreement.

       11.    The Release in the Settlement Agreement is incorporated herein and the

Releasing Parties shall, by operation of law, be deemed to have released all JBS

Released Parties from the Released Claims. All entities who are Releasing Parties (as

defined in the Settlement Agreement) or who purport to assert claims on behalf of the




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Releasing Parties are hereby and forever barred and enjoined from commencing,

prosecuting, or continuing, against the JBS Released Parties, in this or any other

jurisdiction, any and all claims, causes of action or lawsuits, which they had, have, or in

the future may have, arising out of or related to any of the Released Claims as defined

in the Settlement Agreement.

       12.     The JBS Released Parties are hereby and forever released and discharged

with respect to any and all claims or causes of action which the Releasing Parties had,

have, or in the future may have, arising out of or related to any of the Released Claims

as defined in the Settlement Agreement.

        13.    The notice given to the Settlement Class, including individual notice to all

 members of the Settlement Class who could be identified through reasonable effort,

 was the most effective and practicable under the circumstances. This notice provided

 due and sufficient notice of the proceedings and of the matters set forth therein,

 including the proposed settlement, to all persons entitled to such notice, and this notice

 fully satisfied the requirements of Rules 23(c)(2) and 23(e)(1) of the Federal Rules of

 Civil Procedure and the requirements of due process.

        14.   No members of the Settlement Class have objected to or excluded

themselves from the Settlement.

        15.    All members of the Settlement Class are now subject to and bound by the

 provisions of the Settlement Agreement, the Released Claims contained therein, and




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this Order with respect to all Released Claims, regardless of whether such members of

the Class seek or obtain any distribution from the Settlement Fund.

       16.    Without affecting the finality of this Final Judgment in any way, this Court

hereby retains continuing exclusive jurisdiction over: (a) consummation, administration

and implementation of the Settlement Agreements and any allocation or distribution

to Settlement Class members pursuant to further orders of this Court; (b) disposition

of the Settlement Fund; (c) hearing and determining applications by Plaintiffs for

attorneys’ fees, costs, expenses, and interest; (d) the actions in this litigation until the

Final Judgment has become effective and each and every act agreed to be performed

by the parties all have been performed pursuant to the Settlement Agreement; (e)

hearing and ruling on any matters relating to any plan of allocation or distribution of

proceeds from the Settlement; (f) the parties to the Settlement Agreement for the

purpose of enforcing and administering the Settlement Agreement and the releases

contemplated by, or executed in connection with the Settlement Agreement; (g) the

enforcement of this Final Judgment; and (h) over any suit, action, proceeding, or

dispute arising out of or relating to the Settlement Agreement or the applicability of

the Settlement Agreement, that cannot be resolved by negotiation and agreement.

       17.    JBS has served upon the appropriate state officials and the appropriate

federal official notice under the Class Action Fairness Act, 28 U.S.C. § 1715 (“CAFA”).

       18.    The Court finds, pursuant to Rules 54(a) and (b) of the Federal Rules of




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 Civil Procedure, that judgment should be entered and further finds that there is no just

 reason for delay in the entry of final judgment as to the parties to the Settlement

 Agreement. Accordingly, the Clerk is hereby directed to enter this Final Judgment

 forthwith.

Dated: November 18, 2021
At Minneapolis, Minnesota
                                                s/John R. Tunheim
                                                JOHN R. TUNHEIM
                                                Chief Judge
                                                United States District Court




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